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U.S. Department of Justice

Joshua S. Levy
Acting United States Attorney
District of Massachusetts

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
1 Courthouse Way
Suite 9200
Boston, Massachusetts 02210

September 16, 2024

Lance Lazzaro, Esq.
360 Court Street, Suite 3
Brooklyn, New York 11231

Re: United States v. Yanbing Chen
Criminal No. 22-10279-AK.

Dear Counsel:

The United States Attorney for the District of Massachusetts (the “U.S. Attorney”) and your
client, Yanbing Chen (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal

Procedure 11(c)(1)(B):

1. Change of Plea

Defendant will plead guilty to Count One of the Superseding Indictment, charging Money
Laundering Conspiracy, in violation of 18 U.S.C. § 1956(h), and to Count Two, charging
Conspiracy to Possess with Intent to Distribute Five Kilograms or More of Cocaine and MDMA,
in violation of 21 U.S.C. § 846. Defendant admits that he committed the crimes specified in these
counts and is in fact guilty of them.

2. Penalties

Defendant faces the following mandatory minimum and maximum penalties. With respect
to Count One: incarceration for up to twenty years; supervised release for three years; a fine of up
to $500,000 or twice the value of the property involved in the transaction; a mandatory special
assessment of $100; and forfeiture to the extent charged in the Superseding Indictment. With
respect to Count Two: incarceration up to life; supervised release for at least eight years and up to.
life; a fine of up to $10 million; a mandatory special assessment of $100; and forfeiture to the
extent charged in the Superseding Indictment.
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“Defendant understands that, if Defendant is not a United States citizen by birth, pleading
guilty may affect Defendant’s immigration status. Defendant agrees to plead guilty regardless of
any potential immigration consequences, even if Defendant’s plea results in being automatically
removed from the United States.

3, Sentencing Guidelines

The U.S. Attorney agrees, based on the following calculations, that Defendant’s total
“offense level’ under the Guidelines is at least 27:

a) In accordance with USSG §2D1.1(c)(5), Defendant’s base offense level is 30,
because at least five kilograms of cocaine are attributable and reasonably
foreseeable to him; and

b) Defendant’s offense level is decreased by 3, because Defendant has accepted
responsibility for his crimes (USSG § 3E1.1).

Defendant understands that the Court is not required to follow this calculation or even to
sentence Defendant within the Guidelines and that Defendant may not withdraw Defendant’s
guilty plea if Defendant disagrees with how the Court calculates the Guidelines or with the

sentence the Court imposes.

Defendant also understands that the government will object to any reduction in Defendant’s
sentence based on acceptance of responsibility if: (a) at sentencing, Defendant (directly or through
counsel) indicates that Defendant does not fully accept responsibility for having engaged in the
conduct underlying each of the elements of the crimes to which Defendant is pleading guilty; or
(b) by the time of sentencing, Defendant has committed a new federal or state offense, or has in

any way obstructed justice.

If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the

Guidelines.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

4. Sentence Recommendation

The U.S. Attorney agrees to recommend the following sentence to the Court:

a) incarceration within the Guidelines sentencing range as calculated by the Court
at sentencing, excluding departures;

b) a fine within the Guidelines sentencing range as calculated by the Court at
sentencing, excluding departures, unless the Court finds that Defendant is not
able, and is not likely to become able, to pay a fine;

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c) 96 months of supervised release;

d) amandatory special assessment of $200, which Defendant must pay to the Clerk
of the Court by the date of sentencing; and

e) forfeiture as set forth in Paragraph 6.

5. Waiver of Appellate Rights and Challenges to Conviction or Sentence

Defendant has the right to challenge Defendant’s conviction and sentence on “direct
appeal.” This means that Defendant has the right to ask a higher court (the “appeals court”) to look
at what happened in this case and, if the appeals court finds that the trial court or the parties made
certain mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant
has the right to file a separate civil lawsuit claiming that serious mistakes were made in this case
and that Defendant’s conviction or sentence should be overturned.

Defendant understands that Defendant has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

a) Defendant will not challenge Defendant’s conviction on direct appeal or in any
other proceeding, including in a separate civil lawsuit; and

b) Defendant will not challenge Defendant’s sentence, including any court orders
related to forfeiture, restitution, fines or supervised release, on direct appeal or
in any other proceeding, including in a separate civil lawsuit.

Defendant understands that, by agreeing to the above, Defendant is agreeing that
Defendant’s conviction and sentence will be final when the Court issues a written judgment after
the sentencing hearing in this case. ‘That is, after the Court issues a written judgment, Defendant
will lose the right to appeal or otherwise challenge Defendant’s conviction and sentence, regardless

of whether Defendant later changes Defendant’s mind or finds new information that would have

led Defendant not to agree to give up these rights in the first place.

Defendant is agreeing to give up these rights at least partly in exchange for concessions the
U.S. Attorney is making in this Agreement.

The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that Defendant’s lawyer rendered ineffective assistance of counsel, or that the prosecutor or
a member of law enforcement involved in the case engaged in misconduct serious enough to entitle
Defendant to have Defendant’s conviction or sentence overturned.

6. Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
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enter ati order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense. Defendant admits that these assets are subject to forfeiture
on the grounds that they constitute, or are derived from, proceeds of Defendant’s offense, were
used to facilitate Defendant’s offense, and/or were involved in Defendant’s offense.

7. Civil Liability

This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant’s criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

8. Breach of Plea Agreement

Defendant understands that if Defendant breaches any provision of this Agreement,
violates any condition of Defendant’s pre-trial release or commits any crime following
Defendant’s execution of this Plea Agreement, Defendant cannot rely upon such conduct to
withdraw Defendant’s guilty plea. Defendant’s conduct, however, would give the U.S. Attorney
the right to be released from the U.S. Attorney’s commitments under this Agreement, to pursue
any charges that were, or are to be, dismissed under this Agreement, and to use against Defendant
any of Defendant’s statements, and any information or materials Defendant provided to the
government during investigation or prosecution of Defendant’s case—even if the parties had
entered any earlier written or oral agreements or understandings about this issue.

Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring

before the date of this Agreement.

9, Who is Bound by Plea Agreement

This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

10. Modifications to Plea Agreement

This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.
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* * *

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Christopher Pohl.

Sincerely,

JOSHUA S. LEVY
Acting United States Attorney

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RILWAN ADSBOSEANT
Chief, Nareéfics & Money Laundering Unit

CHRISTOPHER POHL
Assistant U.S. Attorney
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ACKNOWLEDGMENT OF PLEA AGREEMENT

I have had this letter read to me in my native language and discussed it with my attorney.
The letter accurately presents my agreement with the United States Attorney’s Office for the
District of Massachusetts. There are no unwritten agreements between me and the United States
Attorney’s Office, and no United States government official has made any unwritten promises or
representations to me in connection with my guilty plea. I have received no prior offers to resolve
this case.

T understand the crimes I am pleading guilty to, and the mandatory minimum and maximum
penalties for those crimes. I have discussed the Sentencing Guidelines with my lawyer, and I
understand the sentencing ranges that may apply.

I am satisfied with the legal representation my lawyer has given me, and we have had
enough time to meet and discuss my case, We have discussed the charges against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.

I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offenses. I believe this Agreement is in my best interest.

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YANBING CHEN
Defendant

Date: (0°3-QOQ LY /
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I certify that Yanbing Chen has had this Plea Agreement read to him in his native language
and that we have discussed what it means. I believe he understands the Agreement and is entering
into it freely, voluntarily, and knowingly. I also certify that the U.S. Attorney has not extended any
other offers regarding a change of plea in this case.

LANCE LAZZARO, Esq. Wy
DESMOND FITZGERALD, Esq.
Attorney for Defendant

Date. \U- 37 Aor

